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                                                 U.S. Department of Justice
                                                                                       Page 3
                                                    United States Attorney
                                                    Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                    December 24, 2023

BY ECF

The Honorable Analisa Torres
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:       In re Search Warrant dated November 5, 2021, 21 Misc. 813 (AT)

Dear Judge Torres:

       The Government respectfully submits this letter pursuant to the Court’s Order dated
December 21, 2023 (Dkt. 68), directing the Government to complete the record by filing on the
docket the following documents (id. at 23), which are attached as exhibits hereto:

             •   The Special Master’s March 14, 2022 Order (Exhibit 1)

             •   The Special Master’s March 21, 2022 Order (Exhibit 2)

             •   James E. O’Keefe III and Project Veritas’s Brief on First Amendment and
                 Journalistic Privileges, dated April 1, 2022 (Exhibit 3)

             •   Spencer Meads’s Letter Brief on First Amendment and Journalistic Privileges,
                 dated April 1, 2022 (Exhibit 4)

             •   The Government’s Memorandum of Law in Response to Petitioners’ Briefs Dated
                 April 1, 2022, dated April 13, 2022 (Exhibit 5)

             •   James E. O’Keefe III and Project Veritas’s Reply Brief on First Amendment and
                 Journalistic Privileges, dated April 20, 2022 (Exhibit 6)
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                                             Respectfully submitted,

                                             DAMIAN WILLIAMS
                                             United States Attorney


                                       By:
                                             Jacqueline Kelly
                                             Robert B. Sobelman
                                             Mitzi Steiner
                                             Assistant United States Attorneys
                                             (212) 637-2456/2616/2284

Cc: All Counsel of Record (by ECF)
